                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  SOUTHERN DIVISION

IN RE: ESTATE OF OMA E. GRIFFITH,                    )
                                                     )
               Deceased,                             )
                                                     )
DEBORAH HOOPER,                                      )
                                                     )
               Plaintiff,                            )      CIVIL ACTION NO.:
v.                                                   )
                                                     )
UNDERWRITERS AT LLOYD’S                              )
750 7th Avenue, New York, New York                   )
10019 and ATLANTIC SPECIALTY                         )
LINES OF VIRGINIA, LLC, 9020                         )
Stony Point Parkway, Suite 450                       )
Richmond, Virginia 23235                             )
                                                     )
               Defendants.                           )

        DEFENDANTS UNDERWRITERS AT LLOYD’S, LONDON SUBSCRIBING
           TO POLICY NO. AS201VA439743-0 AND ATLANTIC SPECIALTY
     LINES OF VIRGINIA, LLC’S NOTICE OF REMOVAL TO THE UNITED STATES
              DISTRICT COURT, EASTERN DISTRICT OF TENNESSEE

        COME NOW Defendants, those Certain Underwriters at Lloyd’s, London subscribing to

Policy No. AS201VA439743-0 (improperly named in the Complaint as “Underwriters at Lloyd's,

hereinafter “Underwriters,” and Atlantic Specialty Lines of Virginia, LLC, hereinafter “ASL-

Virginia,” collectively, the “Defendants”), by and through undersigned counsel, and pursuant to

28 U.S.C. §§ 1441 et seq., hereby file this Notice of Removal, as follows:

                                                I.

        Plaintiff Deborah Hooper (“Plaintiff”) filed her Complaint in the Chancery Court of

Marion County, Tennessee on June 13, 2014. The case was styled: In Re: Estate of Oma E.

Griffith, Deceased, Deborah Hooper, Plaintiff v. Underwriters at Lloyd’s, 750 7th Avenue, New



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York, New York 10019 and Atlantic Specialty Lines of Virginia, LLC 9020 Stony Point Parkway,

Suite 450, Richmond, VA 23255. True and correct copies of all process, pleadings, and orders

served upon Defendants in that action are attached hereto as Exhibit “A.”

                                               II.

       Plaintiff attempted service upon Underwriters via Certified Mail Return Receipt

Requested at 750 Seventh Avenue, New York, New York 10019, which was delivered on June

24, 2014, according to the Domestic Return Receipt included in Exhibit “A.” Plaintiff attempted

service upon ASL-Virginia via Certified Mail Return Receipt Requested at 9020 Stony Point

Parkway, Suite 450, Richmond, Virginia 23235, which was delivered on June 24, 2014,

according to the Domestic Return Receipt included in Exhibit “A.” Plaintiff also delivered the

summons and Complaint upon the Department of Commerce and Insurance on June 24, 2014.

Neither Underwriters nor ASL-Virginia has responded to the Complaint.

                                              III.

       In her Complaint, Plaintiff alleges a loss to the Deceased located at 7321 Highway 108,

Whitwell, Marion County, Tennessee (the “Property”), as a result of a fire that Plaintiff alleges

occurred at the property on July 14 or 15, 2013. Complaint, ¶¶ II-III.      Plaintiff alleges that

“claims were duly filed through Russ Hood Agency, the agent who caused said policy to be

issued. To date, the Plaintiff has had no contact with any claim’s agent of the Defendants nor

any compensation for the loss although the amount of insurance was … $120,000 for said loss.”

Compl. at ¶ IV. Plaintiff also seeks recovery of pre-judgment interest. Compl. at ¶ V.




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                                               IV.

        Underwriters subscribe to Policy No. AS201VA439743-0, a personal lines property

policy (previously and hereinafter the “Policy”) that provided certain coverages for the Property

for the policy period March 15, 2012 to March 15, 2013. The Policy has dwelling limits of

$120,000; other structures limits of $12,000; and loss of use limits of $12,000. The Policy does

not provide personal property coverage, and Plaintiff does not seek personal property coverage in

the Complaint. See generally Compl.

                                                V.

        Plaintiff seeks from Defendant damages in excess of $75,000, exclusive of interest and

costs. Consequently, the amount in controversy requirement of 28 U.S.C. 1332(a) has been

satisfied.

                                               VI.

        Upon information and belief, Plaintiff Deborah Hooper is a citizen of Tennessee.

                                              VII.

        Certain Underwriters at Lloyd’s, London, are self-regulating entities operating as an

insurance market in the United Kingdom, organized under the laws of the United Kingdom and

with their principal place of business in the United Kingdom.        The lead Underwriters are

citizens of the United Kingdom. None of the Underwriters subscribing to the Policy was a

citizen of Tennessee at any time relevant to this matter, including the date on which the

Complaint was filed.




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                                              VIII.

       ASL-Virginia is a limited liability company formed in Virginia, with its principal office

located at 9020 Stony Point Parkway, Suite 450, Richmond, Virginia 23235, and its registered

office is located at 3 Agent Services, Inc., 2121 Eisenhower Avenue, Suite 251, Alexandria,

Virginia 22314. ASL-Virginia does not have citizenship in Tennessee. None of ASL-Virginia’s

Members are citizens of Tennessee.

                                              IX.

       As there is complete diversity among the parties, and there is a sufficient amount in

controversy, federal jurisdiction exists pursuant to 28 U.S.C. § 1332, and this matter may be

removed pursuant to 28 U.S.C. § 1441(a), et seq.

                                               X.

       Under 28 U.S.C. § 1446(b), this Notice of Removal is timely filed, as it is filed within

thirty (30) days of the date on which Plaintiff purports that she served Underwriters and ASL-

Virginia with the Complaint, via Certified Mail Return Receipt Requested.

                                              XI.

       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served upon

Plaintiff’s counsel and filed in the Chancery Court for Marion, Tennessee.

                                              XII.

       Pursuant to 28 U.S.C. § 1446(a), Underwriters and ASL-Virginia have complied with all

prerequisites for filing this Notice, including attachment hereto of all process, pleadings, and

orders served upon defendants.




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                                              XIII.

         Pursuant to Fed.R.Civ.P. 81(c)(2)(C), Underwriters and ASL-Virginia will each file their

respective answers or other responsive pleadings presenting their defenses or objections to

Plaintiff’s Complaint within seven (7) days of the filing of this Notice of Removal.

XIV.

         WHEREFORE, Defendants Underwriters and ASL-Virginia pray that the action now

pending in the Chancery Court for Marion County, Tennessee, be removed therefrom to this

Court.

         This 24th day of July 2014.

                                                      COZEN O'CONNOR

                                                      By: /s/ John W. Reis
                                                      John W. Reis
                                                      Tennessee Bar No. 24818
                                                      One Wells Fargo Center, Suite 2100
                                                      Charlotte, North Carolina 28202
                                                      Phone: (704) 376-3400
                                                      Fax: (704) 334-3351
                                                      Email: jreis@cozen.com

                                                      Kenan G. Loomis
                                                      Admission to Court and Pro Hac Vice
                                                      Motion forthcoming
                                                      Tennessee Bar No. 026150
                                                      Stacey S. Farrell
                                                      Admission to Court and Pro Hac Vice
                                                      Motion forthcoming
                                                      Georgia Bar No. 255877
                                                      303 Peachtree Street, NE
                                                      SunTrust Plaza, Suite 2200
                                                      Atlanta, GA 30308-3264
                                                      Telephone: (404)572-2000
                                                      Fax: (404)572-2199
                                                      Email: kloomis@cozen.com
                                                      Email: ssfarrell@cozen.com

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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                SOUTHERN DIVISION

IN RE: ESTATE OF OMA E. GRIFFITH,         )
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             Deceased,                    )
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DEBORAH HOOPER,                           )
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             Plaintiff,                   )     CIVIL ACTION NO.:
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UNDERWRITERS AT LLOYD’S                   )
750 7th Avenue, New York, New York        )
10019 and ATLANTIC SPECIALTY              )
LINES OF VIRGINIA, LLC, 9020              )
Stony Point Parkway, Suite 450            )
Richmond, Virginia 23235                  )
                                          )
             Defendants.                  )
                             CERTIFICATE OF SERVICE

       This is to certify that I have this day served counsel for all parties in this action with a

copy of the foregoing DEFENDANTS’ UNDERWRITERS AT LLOYD’S, LONDON

SUBSCRIBING TO POLICY NO. AS201VA439743-0 AND ATLANTIC SPECIALTY

LINES OF VIRGINIA, LLC’S NOTICE OF REMOVAL TO THE UNITED STATES

DISTRICT COURT, EASTERN DISTRICT OF TENNESSEE by U.S. Mail Postage prepaid

upon the following:

                      J. Harvey Cameron, Esq.
                      Cameron & Cameron, P.C.
                      28 Courthouse Square, Suite 100
                      P.O. Box 759
                      Jasper, TN 37347
                      (423) 942-9975
                      jhcam@aol.com



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      This 24th day of July 2014.


                                         /s/Stacey S. Farrell
                                         Stacey S. Farrell
                                         Admission to Court and Pro Hac Vice
                                         Motion forthcoming
                                         Georgia Bar No. 255877
                                         Cozen O’Connor
                                         303 Peachtree Street, NE
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                                         Telephone: (404)572-2000
                                         Fax: (404)572-2199
                                         Email: ssfarrell@cozen.com




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